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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                  CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

          Plaintiff,

  V.

  DONALD J. TRUMP and
  WAL TINE NAUT A,

          Defendants.
  - - - - - - - - - - - - - --I
                                 DECLARATION OF JAY I. BRATT

          Pursuant to 28 U.S.C. § 1746, I, Jay I. Bratt, declare as follows:

          1.      I am employed as a Counselor to the Special Counsel in the Office of Special

  Counsel Jack Smith.      I am one of the prosecutors involved in the above-captioned case and am

  familiar with it.    The statements in this declaration are based on my personal knowledge and my

  conversations with other prosecutors and staff of the Special Counsel 's Office, as well as the

  Litigation Security Group ("LSG").

          2.      Among the discovery to be produced by the government in this case are certain

  materials that are classified (the "classified materials").   The level of classification varies across

  the classified materials, but a security clearance is required to lawfully view any of them.

  According to counsel for defendant Trump and defendant Nauta, no defense counsel currently

  possesses a security clearance.    As a result, they will need to obtain one to lawfully view the

  classified materials.

          3.      LSG has committed to significantly expediting the issuance of security clearances
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  in this case.

          4.      To be granted an interim security clearance, defense counsel must submit a

  Standard Form 86 - Questionnaire for National Security ("SF-86") and supporting

  documentation.     To date, not all of the defense counsel have submitted their SF-86s.   Once an

  SF-86 and supporting documentation are submitted, absent complicating circumstances, an

  interim clearance may be granted within a matter of days .    In this case, LSG has committed to

  reaching an eligibility determination within 24-48 hours of the completed submission. Once

  defense counsel are granted interim security clearances, the government will be able to provide

  the vast majority of classified discovery, consisting of documents marked CONFIDENTIAL,

  SECRET, and TOP SECRET, including documents within the following Sensitive

  Compartmented Information Compartments:          SI, SI-G, and TK.

          5.       However, interim security clearances are not sufficient for the government to

  provide in classified discovery a small number of documents-including some documents whose

  unauthorized retention is charged in the indictment-that contain restricted compartments for

  which a final security clearance and additional read-ins are required.   LSG estimates that final

  clearances may be granted within 45 to 60 days of submission of the SF-86 and related

  documentation, depending upon the content of the applicant's SF-86. The additional read-ins

  can be conducted promptly upon access approval.

          6.       On June 21, 2023, the government began producing unclassified discovery to the

  defense.     The production includes documents obtained via subpoena, evidence obtained via

  warrants, transcripts of grand jury testimony, memorialization of witness interviews, a

  reproduction of key documents that in the government's view are pertinent to the case, and

  copies of closed-circuit television footage the government has obtained during its investigation.
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          7.      I have extensive experience with the Classified Information Procedures Act, Pub.

  L. 96-456, 94 Stat. 2025, 18 U.S.C. App. 3 §§ 1- 16, and from that experience I am aware that

  the procedures provided for under that statute often lengthen the ordinary trajectory from

  indictment to trial.   The additional procedures that may be required in this case are discussed in

  the government' s Motion for a Pretrial Conference Pursuant to the Classified Information

  Procedures Act, which is being filed contemporaneously with this motion.        These procedures

  address potential resolution of issues related to classified discovery and the use and admissibility

  of classified information at trial.

          I declare under penalty of perjury that the foregoing is true and correct.




  Dated: June 23 , 2023




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